                     Case 1:17-cv-02559-DAR Document 8 Filed 05/23/18 Page 1 of 2
                                                                                                        28 USC 1608 Summons
                                                                                                        12/11




                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLUMBIA


.RFK0LQHUDOV6jUODQG.RFK1LWURJHQ,QWHUQDWLRQDO6jUO )
                        Plaintiff                           )
                                                            )
                v.                                          )                 Civil Action No. FY.%-
        %ROLYDULDQ5HSXEOLFRI9HQH]XHOD                    )
                                                            )
                        Defendant                           )



                                           SUMMONS IN A CIVIL ACTION

To:     (Defendant’s name and address)
                                         %2/,9$5,$15(38%/,&2)9(1(=8(/$
                                         0LQLVWHULRGHO3RGHU3RSXODUSDUD5HODFLRQHV([WHULRUHV2ILFLQD
                                         GH5HODFLRQHV&RQVXODUHV
                                         $YHQLGD8UGDQHWD(VTXLQD&DUPHOLWDVD3XHQWH/ODJXQR3LVR
                                         GHO(GLILFLR$QH[RDOD7RUUH05(
                                         &DUDFDV5HS~EOLFD%ROLYDULDQDGH9HQH]XHOD
        A lawsuit has been filed against you.

        Within 60 days after service of this summons on you (not counting the day you received it) you must
serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of the Federal Rules of
Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney, whose name and
address are:
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                       &22/(<//3
                       $YHQXHRIWKH$PHULFDV
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      If you fail to respond, judgment by default may be entered against you for the relief demanded in the
complaint. You also must file your answer or motion with the court.



                                                                     ANGELA D. CAESAR, CLERK OF COURT



         
Date:
                                                                              Signature of Clerk or Deputy Clerk
                        Case 1:17-cv-02559-DAR Document 8 Filed 05/23/18 Page 2 of 2
86&6XPPRQV   3DJH

&LYLO$FWLRQ1R FY.%-

                                                      3522)2)6(59,&(
                      (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

          7KLVVXPPRQVIRU(name of individual and title, if any)
ZDVUHFHLYHGE\PHRQ(date)                                        

          u ,SHUVRQDOO\VHUYHGWKHVXPPRQVRQWKHLQGLYLGXDODW (place)
                                                                              RQ(date)                          RU

          u ,OHIWWKHVXPPRQVDWWKHLQGLYLGXDO¶VUHVLGHQFHRUXVXDOSODFHRIDERGHZLWK(name)
                                                           DSHUVRQRIVXLWDEOHDJHDQGGLVFUHWLRQZKRUHVLGHVWKHUH
          RQ(date)                           DQGPDLOHGDFRS\WRWKHLQGLYLGXDO¶VODVWNQRZQDGGUHVVRU

          u ,VHUYHGWKHVXPPRQVRQ(name of individual)                                                                  ZKRLV
          GHVLJQDWHGE\ODZWRDFFHSWVHUYLFHRISURFHVVRQEHKDOIRI(name of organization)
                                                                              RQ(date)                          RU

          u ,UHWXUQHGWKHVXPPRQVXQH[HFXWHGEHFDXVH                                                                          RU

          u 2WKHU(specify):
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          0\IHHVDUH                       IRUWUDYHODQG                  IRUVHUYLFHVIRUDWRWDORI                    


          ,GHFODUHXQGHUSHQDOW\RISHUMXU\WKDWWKLVLQIRUPDWLRQLVWUXH


'DWH
                                                                                     Server’s signature



                                                                                   Printed name and title




                                                                                      Server’s address

$GGLWLRQDOLQIRUPDWLRQUHJDUGLQJDWWHPSWHGVHUYLFHHWF
